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Director ot Women's Peo HOM
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Dostan_, Suffolk County

 

 

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° PRISONERS’ LEGAL SERVICES OF MASSACHUSETTS

 

lee © 50 Federal Street, 4th Floor « Boston, MA 02110 www.plsma.org
2, {) fb.me/prisonerslegalservices © @PLSMA
@ Main: 617-482-2773 Fax: 617-451-6383
State prisoner speed dial: 9004 or 9005 * County prisoner collect calls: 617-482-4124
October 2, 2019
Yolonda Smith

Superintendent
South County HOC C) f
20 Bradston Street r

Boston, MA 02118

Re: __Jennaya Bennett-Werra, 183905 eeeses—s—s—s—sssSe

Dear Superintendent Smith:

I am writing on behalf of Jennaya Bennett-Werra, who is incarcerated at Suffolk County
HOC.

Ms. Bennett-Werra identifies as female and has been prescribed hormones by her
providers at the jail. She reports she is taken to programs with other female prisoners and goes
to the library with female prisoners, She reports there have been no issues during the time she is
with female prisoners.

Ms. Bennett-Werra reports that Suffolk county officials will not house her with other
females as stated in the Criminal Justice Reform Act (CJRA). Mass. Gen. Laws Ann. ch. 127, §
32A provides:

A prisoner of a correctional institution, jail or house of correction that has a gender
identity, as defined in section 7 of chapter 4, that differs from the prisoner's sex

assigned at birth, with or without a diagnosis of gender dysphoria or any other physical or
mental health diagnosis, shall be: (i) addressed in a manner consistent with the prisoner's
gender identity; (ii) provided with access to commissary items, clothing, programming,
educational materials and personal property that is consistent with the prisoner's gender
identity; (iii) searched by an officer of the same gender identity if the search requires an
inmate to remove all clothing or includes a visual inspection of the anal cavity or
genitals; provided, however, that the officer's gender identity shall be consistent with the
prisoner's request; and provided further, that such search shall not be conducted for the
sole purpose of determining genital status; and (iv) housed in a correctional facility
with inmates with the same gender identity; provided further, that the placement
shall be consistent with the prisoner's request, unless the commissioner, the sheriff
or a designee of the commissioner or sheriff certifies in writing that the particular
Case 1:20-cv-10017-ADB Document 1-2 Filed 01/03/20 Page 12 of 22

2

placement would not ensure the prisoner's health or safety or that the placement
would present management or security problems.

Ms. Bennett-Werra reports she has consistently made requests to be housed with
members of her own gender but this request has not been granted. Please grant Ms. Bennett-
Werra a transfer to the women’s unit at Suffolk County.

I am seeking releases signed by Ms. Bennett-Werra. I will forward the releases when |
receie them. I look forward to your response to Ms. Bennett-Werra’s housing needs and this
letter.

 

Paralegal
Case 1:20-cv-10017-ADB Document 1-2 Filed 01/03/20 Page 13 of 22 ~~
Suffolk County Sheriff’s Department i}

Grievance Form

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Date Received: ~/

 

 

   

Appeal Date:

 

 

  

 

 

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S491
Case 1:20-cv-10017-ADB Document 1-2 Filed 01/03/20 Page 14 of 22

Suffolk 7/5/2019 11:24:21 AMEastem Daylight Time

20 Bradston Street
Boston, M402118

 

PICTURE

NOT AVAILABLE
Patient: BENNETT-WERRA JAVES — #: (165359) 1902435 Langs
DOB: 8/22/1997 (Age=21) Sex: M Race: WwW
Housing: HOC-1-08-2-14-A SSN: *“HIDDEN* Type:
Status: ACTIVE Booking Date: 4/10/2019 1:21:00 PMEastern Daylight Time Release:
Grievance
Date Of Grievance: Date Received: Date of Response: Closed
6/27/2019 7/3(2019 742019 Se
_ Grievance Types: i ess—

Dissatisfied with quality of mecical care

Description:
You would like to be better accommodated for your Gender Dysphoria by having Electrolysis.

Response:
Unfortunatley, Electrolysis is not medically indicated.
Case 1:20-cv-10017-ADB Document 1-2 Filed 01/03/20 Page 15 of 22
Suffolk County Sheriff’s Department

Grievance Form

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Per Policy S491, your grievance will be returned if you do not indicate with whom you have at-

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Case 1:20-cv-10017-ADB Document 1-2 Filed 01/03/20 Page 16 of 22
Suffolk County Sheriff’s Department

Grievance Form

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Case 1:20-cv-10017-ADB Document 1-2 Filed 01/03/20 Page 17 of 22

Suffolk County Sheriff’s Department i \
Grievance Form i
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Case 1:20-cv-10017-ADB Document 1-2 Filed 01/03/20 Page 18 of 22

Suffolk County Sheriff’s Department Vv
Grievance Form 1
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Per Policy S491, your grievance will be returned if you do not indicate with whom you have at-

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Institutional Grievance Coordinator: } j Sis ox Date: |, [ ei id
You may appeal the decision of the IGC to the Superintendent withiss (10) dates if the decision. Only the official Inmate Grievance Appeal Form will be S491

accepted, The Superintendent’s decision in final. 3pt (Revised 5/14)
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" SUFFOLK COUNTY SHERIFF'S DEPARTMENT =|
INMATE GRIEVANCE APPEAL FORM

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- SUFFOLK COUNTY SHERIEP’S DEPARTMENT
INMATE GRIEVANCE APPEAL FORM

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- SUFFOLK COUNTY SHERIFF’S DEPARTMENT
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SUFFOLK COUNTY SHERIFF’S DEPARTMENT
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